Meghan Claiborne

From:                              Meghan Claiborne
Sent:                              Thursday, February 4, 2021 11:27 AM
To:                                Chris McInerney; Thomas Malone
Subject:                           RE: Wexler v. City, et al. - Plaintiff's Answers & Responses


Good Morning:

Following up again on the below. If I haven’t gotten dates for your client’s deposition by tomorrow I will need to file a
motion to compel. Please either let me know a time that works to speak or send me dates by close of business.

Thank you,
Meghan

From: Meghan Claiborne
Sent: Thursday, February 4, 2021 8:48 AM
To: Chris McInerney <cmcinerney@themalonefirm.com>; Thomas Malone <tmalone@themalonefirm.com>
Subject: RE: Wexler v. City, et al. - Plaintiff's Answers & Responses

Good Evening:

Following up on the below. Do any of the times below work for you?

Thanks,
Meghan

From: Meghan Claiborne
Sent: Wednesday, February 3, 2021 1:43 PM
To: 'Chris McInerney' <cmcinerney@themalonefirm.com>; Thomas Malone <tmalone@themalonefirm.com>
Subject: RE: Wexler v. City, et al. - Plaintiff's Answers & Responses

Thank you.

I am available tomorrow from 11-noon, 1-2pm, and 3pm on.

Best,
Meghan

From: Chris McInerney <cmcinerney@themalonefirm.com>
Sent: Wednesday, February 3, 2021 1:40 PM
To: Meghan Claiborne <Meghan.Claiborne@Phila.gov>; Thomas Malone <tmalone@themalonefirm.com>
Subject: RE: Wexler v. City, et al. - Plaintiff's Answers & Responses

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attachments unless you recognize the sender.

Hello,

Mr. Malone is in a deposition for the remainder of the afternoon; he's available after 11 A.M. tomorrow.
                                                              1
Thanks,
Chris

From: Meghan Claiborne [Meghan.Claiborne@Phila.gov]
Sent: Wednesday, February 03, 2021 1:11 PM
To: Thomas Malone
Cc: Chris McInerney
Subject: RE: Wexler v. City, et al. - Plaintiff's Answers & Responses

Tom:

Following up on the below.

Thanks,
Meghan

From: Meghan Claiborne <Meghan.Claiborne@Phila.gov>
Sent: Wednesday, February 3, 2021 12:31 PM
To: Thomas Malone <tmalone@themalonefirm.com>
Cc: Chris McInerney <cmcinerney@themalonefirm.com>
Subject: Re: Wexler v. City, et al. - Plaintiff's Answers & Responses

Tom:

Per my email yesterday I am free from 1:30 on. If you don’t have any availability after 1:30 please let me know your
availability for tomorrow.

Thank you,
Meghan

Sent from my iPhone, apologies for any inadvertent typographical errors.


From: Thomas Malone <tmalone@themalonefirm.com>
Sent: Wednesday, February 3, 2021 12:25:39 PM
To: Meghan Claiborne <Meghan.Claiborne@Phila.gov>
Cc: Chris McInerney <cmcinerney@themalonefirm.com>
Subject: RE: Wexler v. City, et al. - Plaintiff's Answers & Responses

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attachments unless you recognize the sender.

Meghan,

I can speak at 1PM if that works for you.

Best,
Tom


From: Chris McInerney
Sent: Wednesday, February 03, 2021 12:18 PM
To: meghan.claiborne@phila.gov
                                                              2
Cc: Thomas Malone
Subject: Wexler v. City, et al. - Plaintiff's Answers & Responses

Ms. Claiborne,

Attached, please find Plaintiff's Answers and Responses to Defendants' First Set of Interrogatories and Requests for
Production of Documents. Due to the snowstorm, we were unable to get Ms. Wexler's signature for the verification; we
will send an amended copy including the verification as soon as possible.

Sincerely,
Chris McInerney
Paralegal, The Malone Firm




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